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      ORDERED in the Southern District of Florida on July 27, 2018.




                                                                Laurel M. Isicoff
                                                                Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA

       In re:                                                        Case No. 18-15891-BKC-LMI

       MAURICE SYMONETTE,                                            Chapter 7

                  Debtor.
       ________________________________/

           ORDER DENYING DEBTOR’S MOTION FOR CONTINUANCE OF HEARING

                THIS CAUSE came before the Court upon the Emergency Motion to Continue Hearing
      (ECF #56) filed on July 26, 2018 by Debtor, Maurice Symonette. The Court has reviewed the
      Motion and all relevant matters. It is
                ORDERED AND ADJUDGED:
                1.       The Motion for Continuance of the Hearing is DENIED.
                2.       The Court had already continued the hearing because the Debtor was going to be
      out of town for work. The Debtor does not have to be absent from the jurisdiction on July 31,
      2018 and therefore must appear.
                                                                 ###

      Copies furnished to:
      Maurice Symonette, pro se Debtor

                The Clerk shall serve a copy of this order upon all parties in interest.
